 Case 2:23-cv-01165-KM-LDW Document 6 Filed 04/30/23 Page 1 of 2 PageID: 96




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on behalf of Case No.: 2:23-cv-01165
  all others similarly situated,
                                 Plaintiff,  NOTICE OF MOTION FOR
          v.
                                             APPOINTMENT OF LEAD
                                             PLAINTIFF AND APPROVAL OF
  ZAC PRINCE, FLORI MARQUEZ, TONY
  LAURA, JENNIFER HILL and GEMINI            SELECTION OF LEAD COUNSEL
  TRADING, LLC,                              PURSUANT TO PSLRA 15 U.S.C. §78u-
                                             4(a)(3)(8)
                                 Defendants.

       PLEASE TAKE NOTICE that pursuant to Section 21D of the Securities Exchange Act of

1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private Securities Litigation Reform Act of

1995, Movant hereby moves this Court, on a date and at a time to be designated by the Court for

an order:

       a) appointing Movants to serve as Lead Plaintiff or either Movant as an individual lead

            plaintiff alone in this action; and

       b) approving Movants’ selection of Squitieri & Fearon LLP and Moore Kuehn PLLC for

            co-lead Counsel for the Class.

       In support of this Motion, Movant submits: (i) the Memorandum of Law dated May 1,

2023, and (ii) the Declaration of Lee Squitieri in support of the motion (and exhibits).

Dated: April 30, 2023                             SQUITIERI & FEARON, LLP


                                                  /s/ Lee Squitieri
                                                  305 Broadway, 7th Floor
                                                  New York, New York 10007
                                                  (212) 421-6492
                                                  lee@sfclasslaw.com




                                                    1
Case 2:23-cv-01165-KM-LDW Document 6 Filed 04/30/23 Page 2 of 2 PageID: 97




                                  MOORE KUEHN, PLLC
                                  Fletcher Moore
                                  Justin Kuehn
                                  30 Wall Street, 8th Floor
                                  New York, New York 10005
                                  (212) 709-8245
                                  fmoore@moorekuehn.com
                                  jkuehn@moorekuehn.com

                                  Attorneys for Movant




                                    2
